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14
15                         UNITED STATES DISTRICT COURT
16                       EASTERN DISTRICT OF CALIFORNIA
17   UNITED STATES OF AMERICA,              Case No. 2:19-CR-00107-KJM
18                Plaintiff,                STIPULATED ORDER
                                            UNSEALING PART OF EXHIBIT
19         v.                               144-1
20   RONALD YANDELL,
21                Defendant.
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             Case 2:19-cr-00107-KJM Document 2222 Filed 04/11/24 Page 2 of 3


            By stipulation and Court order, this document modifies the Sealing Order relating
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     to Government Exhibit 144-1. See ECF 144-1.
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            The parties represent that Exhibit 144-1 is a long compilation of CDCR rule
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     violations against Ronald Yandell. The government initially filed Exhibit 144-1 on the
 4
     public docket. Counsel for Mr. Brant Daniel then requested that this exhibit be filed
 5
     under seal, a request that Yandell joined. See ECF 158 (Notice of Request to Seal); 159
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     (Motion, under seal); ECF 172 (Reply). The government opposed the motion to seal the
 7   document. ECF 168 (Government’s Opposition) The Court granted the motion and
 8   Exhibit 144-1 was ultimately filed under seal. ECF 161 (Order).
 9          Mr. Yandell now seeks to use pages 159-161 of Exhibit 144-1 in support of a
10   motion to be filed on April 11, 2024. Those pages relate to a rules-violation allegation
11   against Mr. Yandell. Mr. Yandell seeks to file those pages on the public docket in support
12   of his April 11, 2024 motion.
13          The government has no objection to this request.

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            Case 2:19-cr-00107-KJM Document 2222 Filed 04/11/24 Page 3 of 3


           Therefore, for good cause shown the Court modifies the sealing order relating to
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     Exhibit 144-1. Counsel for Mr. Yandell, and the government, shall be permitted to file
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     pages 159-161 from Exhibit 144-1 on the public docket.
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 4
           IT IS SO STIPULATED
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     Dated this 10th Day of April, 2024.
 6
                                                     Respectfully submitted,
 7
 8                                                   Rene L. Valladares
                                                     Federal Public Defender
 9
10                                                   /s/ Brian D. Pugh
                                                     BRIAN D. PUGH
11                                                   Assistant Federal Public Defender
12                                                   /s/ Sean A. McClelland
13                                                   SEAN A. McCLELLAND
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16                                                   /s/ Steven G. Kalar
                                                     STEVEN G. KALAR
17
18                                                   United States Attorney Phillip Talbert
                                                     Eastern District of California
19                                                   Ross Person
                                                     Assistant United States Attorney
20
21                                                   /s/ Ross Pearson
                                                     ROSS PEARSON
22
23          IT IS SO ORDERED.

24   DATED: April 11, 2024.
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